Opinion issued August 15, 2024




                                       In The

                               Court of Appeals
                                      For The

                           First District of Texas
                             ————————————
                               NO. 01-24-00598-CV
                            ———————————
    IN RE MOSAIC BAYBROOK ONE, L.P. AND MOSAIC BAYBROOK
         TWO, L.P., AND MOSAIC RESIDENTIAL, INC., Relators



            Original Proceeding on Petition for Writ of Mandamus


                          MEMORANDUM OPINION

      Relators have filed a petition for writ of mandamus challenging the trial

court’s July 16, 2024 “Amended Order Severing Motion to Show-Cause

Proceedings, Including TCPA Motion to Dismiss Filed in Response Thereto.”1 We

deny the petition. Relators’ motion for emergency stay is dismissed as moot.


1
      The underlying case is Paul Simien v. Baybrook Village, et al., cause number 2017-
      08379, pending in the 133rd District Court of Harris County, Texas, the Honorable
      Jaclanel McFarland presiding.
                                 PER CURIAM

Panel consists of Justices Goodman, Countiss, and Farris.




                                        2
